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                      IN THE UNITED STATES DISTRICT COURT
                             DISTRICT OF MARYLAND
                                Greenbelt Division

____________________________________
JUSTIN K. PETERS,                   )
                                     )
                        Plaintiff,   )
            v.                      )               Civil Action No. 8:17-cv-2686-GJH
                                     )
EQUIFAX INFORMATION                 )
SERVICES, LLC, et al.,               )
                                     )
                        Defendants. )
____________________________________)

                                   DISMISSAL ORDER

       THIS DAY CAME the Plaintiff, Justin K. Peters, and the Defendant, Equifax Information

Services, LLC, by counsel, and moved the Court to dismiss with prejudice all claims against

Defendant Equifax Information Services, LLC in the above-styled action.

       UPON CONSIDERATION, of the representations of counsel and for other good cause

shown, it is, hereby ORDERED, ADJUDGED, and DECREED that the Complaint against Equifax

Information Services, LLC is DISMISSED with prejudice.

       AND THIS CAUSE IS ENDED.

                     26th day of
       Entered this _______        September2018.




                                                                /S/
                                                    _____________________________
                                                    George J. Hazel
                                                    United States District Judge
